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                                                                                    E-filed for Record
                                                                                     10/4/2021 3:53 PM
                                                                          Superior/State Court, Spalding County

                       IN THE STATE COURT OF SPALDING COUNTY
                                  STATE OF GEORGIA

SHELBY YOUNG AND TYLER YOUNG                      )
  ,  Plaintiffs,                                  )
                                                  )
        vs.                    )                                         CASE NO.:21SV‘301
                               )
WAL-MART STORES EAST, LP d/b/a )
WAL-MART and THOMAS SCOTT OWEN,)
    Defendant.

                        COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW the Plaintiff, Shelby Young, by and through her counsel, and files this, her

Complaint against Walmart Stores East, LP, (hereinafter “Walmart”) and shows the court the

following:

                                  PARTIES AND JURISDICTION

1.      Plaintiff, a resident and citizen of Georgia, brings this action for the past, present, and future

medical bills, past, present, and future pain and suffering, permanent disability, and loss of consortium

for damages the Plaintiff sustained as a result of the above-named Defendants’ negligence. The

subject incident occurred on or about May 23, 2020, at Walmart store 932 located at 1569 North

Expressway, Griffin, GA 30223.

2.      Defendant Walmart is a foreign for-profit corporation that is registered to do business in

the state of Georgia. The Defendant has appointed The Corporation Company at 106 Colony Park

Drive Ste. 800-B, Gumming, GA, 30040-2794, as its registered agent for service of process and

the Defendant can be served at that address.

3.     The Defendant Walmart is subject to the jurisdiction and venue of this Honorable Court.

4.      Defendant Thomas Scott Owen is a citizen of the State of Georgia and the manager of the

Griffin Walmart located at 1569 North Expressway, Griffin, GA 30223.



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5.     Defendant Thomas Scott Owen may be served at 1569 North Expressway, Griffin, GA 30223.

                               FACTS COMMON TO ALL COUNTS

6.      Plaintiff re-alleges the previous paragraphs as if fully set forth herein.

7.      Defendant WALMART owns the parking lot located at 1569 North Expressway, Griffin,

GA 30223.

8.      On or about May 23, 2020, Plaintiff, Shelby Young was a customer and invitee at the

Wahnart store located on Defendant’s property at 1569 North Expressway, Griffin, GA 30223.

9.      While Plaintiffs were walking towards the entrance of the Griffin Walmart store along the

sidewalk owned, designed, and maintained by Defendant Walmart, a vehicle being operated by

Barbara Stansell approached from behind driving parallel to the sidewalk.

10.     Multi-level display racks of various Memorial Day flower arrangements and potted plants

covered portions of the sidewalk between the Plaintiffs and Ms. Stansell’s approaching vehicle.

11.     As Ms. Stansell passed the garden center approaching the Walmart entrance, she drifted

onto the sidewalk, striking and running over Plaintiff Shelby Young’s left leg causing severe

injuries.

12.     Defendant’s Griffin store did not have an elevated curb or sidewalk.

13.     The sidewalk at Defendants’ Griffin Walmart store is level with the parking lot and vehicle

thoroughfare adjacent to it.

14.     Defendant’s Griffin store did not have bollards or any other barrier to prevent this

foreseeable incursion onto the sidewalk.

15.     On May 23, 2020, Defendants’ Griffin store had merchandise placed on the sidewalk

between the garden center fence and the vehicle thoroughfare, which forced invitees to walk in or

close to the roadway and concealing them from approaching traffic.



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16.     Defendants did not warn Plaintiffs of the dangers they faced by walking along and on the

sidewalk at the front of their store.

17.     At all relevant times, the Plaintiff exercised ordinary care for her own safety.

18.     As a result of the incident on May 23, 2020, Shelby Young suffered serious physical,

mental, and emotional injuries, including severe pain and suffering as a result of this incident.

                OWNERSHIP AND OPERATION OF THE WALMART STORE

19.     Plaintiff realleges and incorporates the foregoing paragraphs as if they were fully restated

verbatim herein.

20.     On and around May 23, 2020, Defendant Walmart owned and operated the Walmart store

at 1569 North Expressway, Griffin, GA 30223.

21.     Plaintiffs Shelby and Tyler Young were invitees of Defendants.

22.     Defendant Walmart had a duty to inspect the sidewalk and parking lot to identify hazards,

including reasonable and safe protections against foreseeable dangers like vehicle incursions on

the pedestrian sidewalk.

23.     Before Shelby Young was injured, Defendants knew or in the exercise of reasonable care

should have known that a vehicle incursion on the sidewalk was a reasonably foreseeable hazard.

24.     Before Shelby Young was injured, Defendants knew or should have known that the Griffin

Walmart store had no protection from vehicle incursions on the sidewalk, which created a hazard

of a reasonably foreseeable danger.

25.     Before Shelby Young was injured, Defendants knew that placement of merchandise on the

sidewalk created a foreseeable danger to its invitees.

26.     Defendants negligently covered the pedestrian walkway with merchandise, creating further

risk of injury to invitees.



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27.     Prior to this incident, Defendants failed to correct the reasonably foreseeable hazards at the

Griffin WaLmart.

28.     Defendant negligently designed, constructed, and maintained the sidewalk and parking lot

on its Griffin property so that it created dangerous conditions which led to Plaintiffs injuries.

29.     As a direct and proximate result of Defendants’ negligent acts and omissions, Shelby

Young suffered serious physical, mental, and emotional injuries, including severe pain and

suffering as well as significant limitations of her physical abilities.

                    COUNT I: NEGLIGENCE OF DEFENDANT WALMART

30.     Plaintiff re-alleges and incorporates the previous paragraphs as if fully set forth herein.

31.     At all relevant times, the Defendant Walmart owned, operated, maintained, and/or

managed the Walmart store, sidewalk, and parking lot in question and owed a legal duty under

O.C.G.A. § 51-3-1 of ordinary care to invitees to inspect and keep the premises and approaches in

a safe condition.

32.     Defendant Walmart’s duty of ordinary care pursuant to O.C.G.A. § 51-3-1 is a non­

delegable duty to inspect and keep the premises and approaches in a safe condition.

33.     Defendant Walmart owned, operated, and maintained the sidewalk and parking lot in a

manner that created a foreseeable hazard and in violation of its own policies and the Griffin

Municipal Code.

34.     At all relevant times, Defendant Owen was the manager of the Griffin Walmart store

located at 1569 North Expressway, Griffin, GA 30223.

35.     Defendant Owen, as the manager of the Griffin Walmart, had a duty to inspect the property

and/or to make sure that employees inspected the Griffin Walmart to keep the premises and

approaches safe.



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36.    At all relevant times, Defendant Walmart, as owner of the subject property, and Defendant

Owen as the manager of the property had actual or constructive knowledge of the hazardous

condition and could have prevented Mrs. Young’s injuries.

37.    Defendant Walmart knows of the foreseeable hazard of storefront crashes and vehicle

incursions onto the curbless sidewalks of its stores across the country, as demonstrated by the

dearth of cases relating to similar incidents. See Wal-Mart Stores. Inc, v. Chavez. No. 547 (Md. Ct.

Spec. App. Aug. 17, 2018), Poloski v. Wal-Mart Stores. Inc.. 68 S.W.3d 445 (Mo. Ct. App. 2002), Davis

v. Wal-Mart Stores. Inc.. 64 F. Supp. 2d 1176 (M.D. Ala. 1999), Christian v. Wal-Mart Stores East. L.P..

2011 Ohio 3512 (Ohio Ct. App. 2011), and Chapman v. Wal-Mart Stores. Inc.. 351 Ark. 1 (Ark. 2002).

38.    In a similar case involving a pedestrian struck on the curbless, bollardless sidewalk of a

Costco, the Supreme Court of Idaho stated “one wonders how many cases must be published

declaring that runaway vehicles are unforeseeable as a matter of law before the resulting paradox

created by such a body of law become logically untenable. As the Plaintiffs' expert's reports show,

there is an entire portion of industry and literature dedicated to designing parking lots in such a

way to adequately account for errant vehicles.” Oswald v. Costco Wholesale Corp., 473 P.3d 809,

827 (Idaho 2020).

39.    A raised curb, as required by the City of Griffin municipal code, bollard, and numerous

other types of protective barriers would have prevented Plaintiffs injury.

40.    A fence, speedbump, rumble strip, wheel stop or other devise would have alerted the driver

of her deviation from the thoroughfare onto the pedestrian sidewalk before she struck Plaintiff

Shelby Young, however, there was no such device in place.

41.    At all relevant times, Defendants had superior knowledge of the hazardous condition

created by the negligently designed and maintained sidewalk.




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42.     Defendant Walmart negligently designed, constructed, and maintained the sidewalk and

parking lot areas of its Griffin store.

43.     Defendant created a hazard to pedestrians and invitees by placing the sidewalk in such

close proximity to the vehicle thoroughfare with no meaningful barrier, obstacle, or physical

differentiation.

44.     Defendants failed to warn Plaintiff Shelby Young and other invitees of the hazardous

condition created by the negligently designed and maintained sidewalk.

45.     Defendants created a hazardous condition by placing merchandise on the sidewalk of its

Griffin Walmart store.

46.     Defendants’ failure to keep the premises and approaches safe constitutes negligence.

47.     Defendants’ failure to warn invitees of the hazardous condition created by the sidewalk

constitutes negligence.

48.     The Defendants are liable for the actions and negligence of their employees and contractors

under the doctrine of respondeat superior.

49.     Defendant Walmart was and is responsible for the planning, construction, and ultimate

design of the parking lot at its Griffin Walmart store.

                                             DAMAGES

50.     Plaintiff re-alleges the previous paragraphs as if fully set forth herein.

51.     Asa direct and proximate result of the Defendant’s negligent, careless, and reckless acts

and omissions, Mrs. Young sustained severe and permanent injuries, including but not limited to

injuries to her foot, ankle, and leg, which have prompted her to seek extensive medical treatment

in efforts to alleviate her injuries.




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52.       As a result of the Defendant’s negligence, the Plaintiff has incurred past medical expenses

in the amount of at least $108,469.93 and will likely incur medical expenses in the future as a

result of the subject incident.

53.       Plaintiff has also experienced physical and emotional pain and suffering, loss of strength

and mobility, permanent disability, scarring, and an adverse impact on the quality of her daily life

as a direct result of the negligence of the Defendant which impact continues today and into the

future.

54.       Punitive damages are also appropriate in this case where Defendant has not only violated

professional standards as they apply to sidewalks and parking lots, but has also violated its own

internal policies, and the City of Griffin Municipal Code.

55.       Defendant Walmart’s conduct in failing to protect its invitees from the dangerous

conditions caused Plaintiffs’ damages was and is wanton and willful.

          WHEREFORE, the Plaintiffs, Shelby and Tyler Young, pray for judgment against the

Defendant as follows:

(a)       That the Complaint for Damages be issued and served upon the Defendants;

(b)       That the Defendants appear and answer the Complaint for Damages;

(c)       That a Judgment be entered in favor of the Plaintiff and against the Defendant for her

injuries, physical and emotional pain and suffering, impairment, permanent disability, scarring,

and diminished quality of life, in an amount to be determined by an enlightened conscience of an

impartial jury;

(d)       That the Plaintiff be awarded payment of her past, present, and future medical expenses;

(e)       That the Plaintiffs be awarded punitive damages for wanton and willful misconduct;

(f)       That there be a trial by jury; and



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(g)   That this Court enter such other and further relief as it may deem just and proper.

      Dated this 4th day of October 2021.

                                                    Is/Jacob A. Weldon
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                                                                                                          E-filed for Record
                         General Civil and Domestic Relations Case Filing Information Form                 10/4/2021 3:53 PM
                                                                                          Superior/State Court, Spalding County
                            □ Superior or M State Court of         SPALDING______County
        For Clerk Use Only

        Date Filed         10/4/2021                          Case Number     21SV-301
                           MM-DD-YYYY

Plaintiff(s)                                                   Defendant(s)
YOUNG. SHELBY                                                   WAL-MART STORES EAST. LP
Last           First            Middle I.   Suffix   Prefix     Last           First         Middle I    Suffix    Prefix
YOUNG. TYLER                                                    OWEN. THOMAS S.
Last           First            Middle I.   Suffix   Prefix     Last           First         Middle I.   Suffix    Prefix

Last           First            Middle I.   Suffix   Prefix     Last           First         Middle I.   Suffix    Prefix

Last           First            Middle I.   Suffix   Prefix     Last           First         Middle I.   Suffix   Prefix

Plaintiff's Attorney     JACOB WELDON___                       State Bar Number        966930       Self-Represented □

                       Check one case type and one sub-type in the same box (if a sub-type applies):

        General Civil Cases
                                                                       Domestic Relations Cases
        □       Automobile Tort
        □       Civil Appeal                                           □      Adoption
        □       Contempt/Modification/Other                            □      Contempt
                Post-Judgment                                                 □ Non-payment of child support,
        □       Contract                                                      medical support, or alimony
        □       Garnishment                                            □      Dissolution/Divorce/Separate
        M       General Tort                                                  Maintenance/Alimony
        □       Habeas Corpus                                          □      Family Violence Petition
        □       Injunction/Mandamus/Other Writ                         □      Modification
        □        Landlord/Tenant                                              □ Custody/Parenting Time/Visitation
        □        Medical Malpractice Tort                              □      Paternity/Legitimation
        □        Product Liability Tort                                □      Support - IV-D
        □        Real Property                                         □      Support - Private (non-IV-D)
        □        Restraining Petition                                  □      Other Domestic Relations
        □        Other General Civil

□       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                 Case Number                                   Case Number

        I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA § 9-11-7.1.

□       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

         ______________________________ Language(s) Required

□       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


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